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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:14-cr-00169-JTN-1
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
KHAMISI MANU JOHNSON,               )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on December 3, 2014, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Khamisi Manu Johnson entered a plea of guilty to Count 1 of the Indictment in

exchange for the undertakings made by the government in the written plea agreement. In Count 1,

defendant is charged with Concealment of Fact Affecting Entitlement to Supplemental Security

Income Benefits in violation of Title 42 United States Code, section 1383a(a)(3)(A). On the basis

of the record made at the hearing, I find that defendant is fully capable and competent to enter an

informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises, apart

from the promises in the plea agreement; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.
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               Accordingly, I recommend that defendant's plea of guilty to Count 1 to the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Date: December 3, 2014                                  /s/ Phillip J. Green
                                                       PHILLIP J. GREEN
                                                       United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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